
















In The


Court of Appeals


Sixth Appellate District of Texas at Texarkana



______________________________



No. 06-09-00008-CV


______________________________




JOHNNIE MAE RILEY, Appellant



V.



LADONNA GALE SUBER THIGPEN, PHYLLIS ANN MEADORS, AND          

                         HAROLD JUDSON SUBER, Appellees



                                              


On Appeal from the County Court at Law


 Gregg County, Texas


Trial Court No. 2008-941-CCL2




                                                 




Before Morriss, C.J., Carter and Moseley, JJ.





MEMORANDUM OPINION


	Johnnie Mae Riley, appellant, filed pro se her notice of appeal January 7, 2009. 

	The clerk's record was filed February 26, 2009, and the reporter's record was filed April 16,
2009.  Riley's brief was therefore due May 18, 2009.  This Court granted Riley an extension of thirty
days, to June 17, 2009.  Riley then filed a second request for an extension of time, which we also
granted, to August 17, 2009.  In that correspondence granting Riley's request for an extension, we
informed her that no more requests for an extension would be granted and that failure to file her brief
by that date could result in her appeal being dismissed.  See Tex. R. App. P. 42.3(b), (c).  

	Riley has now filed a third request for an extension of time, asking to August 31, 2009, to
which Appellees have filed an objection.  It is now September 4, and no brief has been filed.  We
overrule Riley's motion for an extension of time and,  pursuant to Rule 42.3(b) of the Texas Rules
of Appellate Procedure, we dismiss this appeal for want of prosecution.  See  Tex. R. App. P. 42.3(b).



							BY THE COURT

						

Date Submitted:	September 3, 2009

Date Decided:		September 4, 2009





yle="font-family: 'Times New Roman', serif"&gt;______________________________

No. 06-05-00012-CV
______________________________


LEONARD CRUSE, Appellant
&nbsp;
V.
&nbsp;
EMPLOYERS INSURANCE OF WAUSAU, Appellee


&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;

On Appeal from the 56th Judicial District Court
Galveston County, Texas
Trial Court No. 00CV0666


&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;



Before Morriss, C.J., Ross and Carter, JJ.
Memorandum Opinion by Chief Justice Morriss


MEMORANDUM OPINION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Leonard Cruse appeals from an order entered in connection with a combined contempt and
enforcement proceeding.


  The order was entered by the court October 19, 2004.  The clerk's record
was filed November 12, 2004, in Houston, and with this Court December 16, 2004.  The reporter's
record was due January 12, 2005.  None was filed. We warned counsel that the reporter's record was
past due, but received no response.  Further, our records do not reflect that a reporter's record was
requested or paid for.  See Tex. R. App. P. 35.3(b), 37.3(c).    
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On February 10, 2005, we wrote again to counsel, reminding him that his brief on the record
provided had been due January 18, 2005, and warning him that, if he did not file his brief within
fifteen days, along with a reasonable explanation of his failure to file the brief timely, his appeal
would be subject to dismissal for want of prosecution.  See Tex. R. App. P. 42.3
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;An additional twenty days have now elapsed since the final deadline we set for filing the brief
and explanation.  Counsel has neither filed his brief nor contacted this Court.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We dismiss the appeal for want of prosecution.
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Josh R. Morriss, III
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Chief Justice

Date Submitted:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;March 16, 2005
Date Decided:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;March 17, 2005


